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                           UNITED STATES COURTS
                           FOR THE NINTH CIRCUIT


                                                                    ORDER
   IN THE MATTER OF THE DESIGNATION                            (28 U.S.C. § 292(b))
   OF A DISTRICT JUDGE FOR SERVICE IN
   ANOTHER DISTRICT WITHIN THE NINTH
   CIRCUIT


                  For the Purpose of Presiding Over a Specific Case
      Pursuant to 28 U.S.C. § 292(b), I hereby designate the Honorable Gonzalo P.
Curiel, United States Senior District Judge for the Southern District of California, to
temporarily perform the duties of United States District Judge for the Northern District
of California beginning on May 7, 2024, for the following specific case: Kamath v.
Alsup, et al., 5:23-cv-06494.

      DATED this 7th day of May 2024.




                                                           Mary H. Murguia
                                                          Chief Circuit Judge
